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February 25, 2016

Dear Plaintiffs’ Steering Committee,

We appreciate the opportunity to provide professional services to the Plaintiffs’ Steering Committee (the “PSC”) in
the In re: Oil Spill by the Oil Rig “Deepwater Horizon” for the Halliburton and Transocean Punitive Damages &
Assigned Claims Settlements, in connection with approval of proposed procedures for providing notice of the
settlements (the “Proposed Notice Program”). This letter confirms the scope of our work, to be performed if and as
requested by the PSC.

The scope of Kinsella Media’s (“KM”) work includes:
   § Design and Implement a Notice Program: You will have approval authority over all aspects of the Notice
        Program (components, budget, and schedule).
   § Write/Edit Notice Materials: KM will draft/edit all notice materials.
   § Work with Garden City Group, LLC (‘GCG”): KM will work with GCG to implement the Notice
        Program.
   § Provide an Expert Opinion: My expert opinion will cover the adequacy of the media and the
        content/form of the Proposed Notice Program.

Costs: We will charge a flat fee of $15,000 for our services, plus reimbursement for reasonable hours worked and any
out of pocket expenses. The hourly rates for our staff are attached as Exhibit A.

We understand that this engagement letter and payment of our fee and expenses must be approved by the court.

Please sign and review this letter: Please let me know if you have any changes to this letter. If all the information is
correct, please sign and return it to acknowledge our agreement about the scope of KM’s services and costs. Thank
you again for the opportunity to work on this matter.

Sincerely,

Shannon Wheatman
President

I agree to the scope of KM services and other terms described above.



_________________________________________________                      ________________________________
Steve Herman                                                           Date:
Authorized Representative of the PSC
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                        EXHIBIT A
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                             KM Billable Rates - Updated 2/23/16
   Name                                                            Hourly Rate
   Alicia Gehring: Media Director                                     $300
   Cecily Uhlfelder: Media Planner                                    $275
   Cristen Stephansky: Notice Program Manager                         $200
   Elaine Pang: Media Supervisor                                      $250
   Emily Scheu: Media Planner                                         $150
   Jamie Brown: Notice Program Manager                                $200
   John Hight: Systems and Design Administrator                       $150
   Katherine Kinsella: Founder                                        $550
   Kristen Stallings: Director - Operations and Client Services       $250
   Maureen Gorman: Senior Media Analyst                               $300
   Michelle Ghilselli: Notice Specialist                              $250
   Sali Hama: Senior Notice Program Manager                           $200
   Shannon Wheatman: President                                        $500
